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3
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4
     Attorney for Defendant
5
                                 UNITED STATES DISTRICT COURT
6
                                         DISTRICT OF NEVADA
7
                                                   ***
8

9     UNITED STATES OF AMERICA,

10                       Plaintiff,                        CASE NO.: 2:11-CR-00334-APG-GWF
11    vs.                                                  STIPULATION TO CONTINUE
      TRACEY BROWN,                                        SENTENCING
12
                 Defendant.
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15          IT IS HEREBY STIPULATED AND AGREED, by and between TRACEY BROWN, by
16
     and through JONATHAN POWELL, ESQ., counsel for the Defendant, and the UNITED STATES
17
     OF AMERICA, by and through DANIEL COWHIG, Assistant United States Attorney, that the
18
     Sentencing date in the above-captioned matter, currently set for October 28, 2014, be continued
19

20   until after November 19, 2015, the currently scheduled date for argument on Defendant s Motion

21   to Unseal Grand Jury Transcripts.
22
            1. Defendant has recently filed a motion to unseal the grand jury transcripts. Defendant
23
                is requesting said information in preparation for his appeal.
24

25
            2. The Government has no objection to the requested continuance.

26          3. Defendant has no objection to a continuance of this matter. Defendant is in custody.
27          4. Denial of this request for continuance would result in a miscarriage of justice.
28
                                                     -1-
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         5. This request for a continuance is made in good faith and is not intended to delay the
1

2           proceedings in this matter.

3        6. For all the above-stated reasons, the ends of justice would be best served by a
4
            continuance of the sentencing date.
5

6

7
         DATED this 27th day of October, 2015.

8

9         /s/ Jonathan Powell                                  /s/ Daniel Cowhig
10
         JONATHAN POWELL, ESQ.                          DANIEL COWHIG
         Counsel for Defendant BROWN                    Assistant United States Attorney
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                                 UNITED STATES DISTRICT COURT
1
                                        DISTRICT OF NEVADA
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                                                   ***

4
      UNITED STATES OF AMERICA,
5
                         Plaintiff,                        CASE NO. 2:11-cr-00334-APG-GWF
6
      vs.
7                                                          ORDER TO CONTINUE SENTENCING
      TRACEY BROWN,
8
                 Defendant.
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10

11                                        FINDINGS OF FACT

12          Based on the pending Stipulations of the parties, and good cause appearing therefore, the
13
     Court finds that:
14
            1. Defendant has recently filed a motion to unseal the grand jury transcripts. Defendant
15
                is requesting said information in preparation for his appeal.
16

17          2. The Government has no objection to the requested continuance.

18          3. Defendant has no objection to a continuance of this matter. Defendant is in custody.
19
                                       CONCLUSIONS OF LAW
20
            1. Denial of this request for continuance would result in a miscarriage of justice.
21

22
            2. This request for a continuance is made in good faith and is not intended to delay the

23              proceedings in this matter.
24   ///
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     ///
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     ///
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28   ///
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            3. For all the above-stated reasons, the ends of justice would be best served by a
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2                 continuance of the sentencing date.

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4
                                                  ORDER
5
            IT IS ORDERED that the Sentencing Hearing scheduled for October 28, 2015, be
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7
     continued.

8           IT IS FURTHER ORDERED that the Sentencing in this matter be scheduled for the
9    ______         December, 2015
      29th day of _______________________, at _____
                                              10:00 am/pm.
10

11
            DATED this ____
                       27th day of _______________,
                                    October         2015.
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                                                   ________________________________
16                                                 UNITED STATES DISTRICT JUDGE

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